Case 6:16-cv-00961-RWS-JDL Document 254 Filed 11/28/17 Page 1 of 13 PageID #: 18665



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION

   REALTIME DATA LLC,                               §
                                                    §
                  Plaintiff,                        §   CIVIL ACTION NO. 6:16-CV-00961-RWS
                                                    §
   v.                                               §
                                                    §
   NETAPP, INC., SOLIDFIRE, LLC,                    §
                                                    §
                  Defendants.                       §
                                                    §


                        MEMORANDUM OPINION AND ORDER

           Before the Court is Defendant NetApp and SolidFire’s (Collectively “NetApp”) Daubert

   Motion to Exclude Testimony by Mr. Stephen Dell. (Doc. No. 234.) Plaintiff Realtime filed a

   Response (Doc. No. 244) and Sur-Reply, (Doc. No. 249), and NetApp filed a Reply. (Doc. No.

   247.)

                                          BACKGROUND

           Realtime alleges that NetApp infringes certain claims of six U.S. Patents. The Asserted

   Patents generally relate to different systems and methods of data compression. Specifically,

   Realtime alleges that NetApp’s ONTAP software and products and services running ONTAP,

   AltaVault; and Solidfire compression products and services, including the SolidFire all-flash

   storage system products infringe the Asserted Claims of the Asserted Patents. (Doc. Nos. 33,

   235-2 at ¶ 2 (“Dell’s Rep.”).)

           Realtime has designated Mr. Stephen Dell as a Damages Expert in this matter. Id. Mr.

   Dell opines that Realtime is entitled to a reasonable royalty due to NetApp’s sales of the Accused

   Products. Dell’s Rep. ¶ 89. Mr. Dell found that there is “a functional relationship [] between the


                                                   1
Case 6:16-cv-00961-RWS-JDL Document 254 Filed 11/28/17 Page 2 of 13 PageID #: 18666



   Accused Products and services and maintenance offerings that are tied to sale of the Accused

   Products.” Id.

                                         LEGAL STANDARD

          Rule 702 provides that an expert witness may offer opinion testimony if (a) the expert’s

   scientific, technical, or other specialized knowledge will help the trier of fact to understand the

   evidence or to determine a fact in issue; (b) the testimony is based on sufficient facts or data; (c)

   the testimony is the product of reliable principles and methods; and (d) the expert has reliably

   applied the principles and methods to the facts of the case. FED. R. EVID. 702.

          The Rules also “assign to the trial judge the task of ensuring that an expert’s testimony

   both rests on a reliable foundation and is relevant to the task at hand.” Daubert v. Merrell Dow

   Pharms. Inc., 509 U.S. 579, 594, 597 (1993). “The relevance prong [of Daubert] requires the

   proponent [of the expert testimony] to demonstrate that the expert’s ‘reasoning or methodology

   can be properly applied to the facts in issue.’” Johnson v. Arkema, Inc., 685 F.3d 452, 459 (5th

   Cir. 2012) (quoting Curtis v. M & S Petroleum, Inc., 174 F.3d 661, 668 (5th Cir. 1999)). “The

   reliability prong [of Daubert] mandates that expert opinion ‘be grounded in the methods and

   procedures of science and . . . be more than unsupported speculation or subjective belief.’”

   Johnson, 685 F.3d at 459 (quoting Curtis, 174 F.3d at 668)).

          In assessing the “reliability” of an expert’s opinion, the trial court may consider a list of

   factors including: “whether a theory or technique . . . can be (and has been) tested,” “whether the

   theory or technique has been subjected to peer review and publication,” “the known or potential

   rate of error,” “the existence and maintenance of standards,” and “general acceptance” of a

   theory in the “relevant scientific community.” Daubert, 509 U.S. at 593–94; see also Kumho

   Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 150 (1999) (“Daubert makes clear that the factors it



                                                    2
Case 6:16-cv-00961-RWS-JDL Document 254 Filed 11/28/17 Page 3 of 13 PageID #: 18667



   mentions do not constitute a ‘definitive checklist or test.’”); U.S. v. Valencia, 600 F.3d 389, 424

   (5th Cir. 2010). “The proponent need not prove to the judge that the expert’s testimony is

   correct, but she must prove by a preponderance of the evidence that the testimony is reliable.”

   Johnson, 685 F.3d at 459 (quoting Moore v. Ashland Chem., Inc., 151 F.3d 269, 276 (5th Cir.

   1998) (en banc)). At base, “the question of whether the expert is credible or the opinion is

   correct is generally a question for the fact finder, not the court.” Summit 6, LLC v. Samsung

   Elecs. Co., Ltd., 802 F.3d 1283, 1296 (Fed. Cir. 2015).

                                            DISCUSSION

          Defendants move to exclude Mr. Dell’s damages opinions on three bases: (1) Mr. Dell

   calculates the wrong royalty base by including non-patented software/hardware service and

   maintenance offerings; (2) Mr. Dell’s apportionment analysis is speculative and unreliable; and

   (3) Mr. Dell’s hypothetical negotiation is impermissibly immutable. (Doc. No. 234.)

   I.     Dell’s Calculation of the Royalty Base

          NetApp argues that Mr. Dell calculated the wrong royalty base because the calculation

   “assumes a royalty base that encompasses both the accused products and NetApp’s revenues

   from software/hardware service and maintenance offerings.” (Doc. No. 234 at 4.) NetApp

   maintains that by including the convoyed sales of non-patented products, Mr. Dell must satisfy

   the three factors of the entire market value rule (“EMVR”). Id. Realtime argues that NetApp

   misstates the requirements because courts have allowed using convoyed sales of non-patented

   products for a royalty base calculation. (Doc. No. 244 at 1.)

          In a reasonably royalty analysis, damages must be tied “to the claimed invention’s

   footprint in the marketplace.” ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860, 869 (Fed. Cir.

   2010). Thus, “where multi-component products are involved, the governing rule is that the



                                                   3
Case 6:16-cv-00961-RWS-JDL Document 254 Filed 11/28/17 Page 4 of 13 PageID #: 18668



   ultimate combination of royalty base and royalty rate must reflect the value attributable to the

   infringing features of the product, and no more.” Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d

   1201, 1226 (Fed. Cir. 2014) (citing VirnetX, Inc. v. Cisco Sys., Inc., 767 F.3d 1308, 1326 (Fed.

   Cir. 2014)). When the accused products have both patented and non-patented features, the

   damages analysis requires an apportionment analysis in order to determine the value added by

   such features. To determine the royalty base, “the patentee should [] base[] its damages on ‘the

   smallest salable infringing unit with close relation to the claimed invention.” VirnetX, 767 F.3d

   at 1327 (citing Cornell University v. Hewlett-Packard Co., 609 F.Supp.2d 279, 287–88

   (N.D.NY. 2009)). “Where the smallest salable unit is, in fact, a multi-component product

   containing several non-infringing features with no relation to the patented feature . . . the

   patentee must do more to estimate what portion of the value of the product is attributable to the

   patented technology. Id.

          Defendant relies on Rite-Hite Corp. v. Kelley Co., 56 F.3d 1538, 1549 (Fed. Cir. 1995) to

   show that convoyed sales cannot be included in the royalty base. However, the language in Rite-

   Hite is ambiguous as to whether it is improper to consider convoyed sales in calculating the

   royalty base. See 56 F.3d at 1549. The case addresses the question of whether collateral sales

   may be considered in a lost profits calculation based on the entire market value rule. Id. at 1549

   n. 9. A footnote only states that “[the] issue of royalty base is not to be confused with the

   relevance of anticipated collateral sales to the determination of a reasonable royalty rate.” Id.

   (citing Deere & Co. v. Int’l Harvester Co., 710 F.2d 1551, 1559 (Fed. Cir. 1983).

          Conversely, the two cases relied on by Plaintiff show that convoyed sales may be

   considered in calculating a royalty base. See Interactive Pictures Corp. v. Infinite Pictures, Inc.,

   274 F.3d 1371, 1385 (Fed Cir. 2001); Fujifilm Corp. v. Benun, 605 F.3d 1366, 1373 (Fed. Cir.



                                                    4
Case 6:16-cv-00961-RWS-JDL Document 254 Filed 11/28/17 Page 5 of 13 PageID #: 18669



   2010). In Interactive Pictures, plaintiff’s damages expert had computed this value by using

   projected future sales for all of defendant’s products as the royalty base, even though only a

   subset of defendant’s products were accused of infringement. 274 F.3d at 1384. Plaintiff argued

   that even though not all of defendant’s products infringed the asserted patents, the accused

   products were bundled with sales of defendant’s other products and drove the overall sales of

   defendant’s products. Id. On that basis, plaintiff argued that it was proper for the royalty base to

   account for projected revenue from all of defendant’s products. Id. The Federal Circuit agreed,

   stating that plaintiff’s damages expert:

          permissibly included all Infinite products in the royalty base, and that [plaintiff’s
          expert] did not provide for an unfair double recovery by factoring the bundling
          and convoying sales into the royalty rate. The jury was entitled to rely on
          evidence of bundling and convoyed sales in determining the proper scope of the
          royalty base.

   Id. at 1385 (citing Deere & Co., 710 F.2d at 1559). In Fujifilm, the Federal Circuit cited

   Interactive Pictures and agreed that the jury was entitled to rely on evidence of bundling and

   convoyed sales in determining the royalty base. 605 F.3d at 1372–73. The Federal Circuit in

   Fujifilm upheld a jury’s damages award which included a royalty rate of $2.00 per infringing

   product. Id. Plaintiff’s expert opined that “in a hypothetical negotiation the royalty rate would

   have changed inversely to the royalty-base changes, resulting in a consistent royalty amount.”

   Id. at 1372. In other words, plaintiff’s expert provided an example where convoyed sales were

   included in the royalty base, but the royalty rate was lower and an example where convoyed

   sales were not included in the royalty base, but were considered in reaching a higher royalty rate.

   Id. at 1372–73.    The explicit statements in these two cases govern here.         Both the cases

   specifically dealt with the issue of whether it was proper to include convoyed sales in both the

   royalty base and rate.



                                                    5
Case 6:16-cv-00961-RWS-JDL Document 254 Filed 11/28/17 Page 6 of 13 PageID #: 18670



          However, this analysis does not end the inquiry. In the context of the entire market value

   rule, the Federal Circuit has cautioned against the prejudicial impact that a large royalty base

   may have on the jury. See Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d 1292, 1320 (Fed. Cir.

   2011) (the disclosure of the full product revenue for an allegedly infringing product “cannot help

   but skew the damages horizon for the jury, regardless of the contribution of the patented

   component to this revenue.”). In order to safeguard against this concern, as well as meet the

   admissibility standards prescribed by Daubert, an expert who wishes to include convoyed sales

   in a royalty base must at least “present a clear explanation of 1) why and how the purported

   convoyed sales are tied to the sales of the accused products and 2) what value of the royalty base

   is attributable to the accused products themselves versus the convoyed sales.” See Realtime

   Data, LLC v. Actian Corp. et al., No. 6:15-cv-463, 2017 WL 1513098, at *1 (E.D. Tex. April 27,

   2017). Further, as the Federal Circuit explained in Rite-Hite, “[the] issue of royalty base is not to

   be confused with the relevance of anticipated collateral sales to the determination of a reasonable

   royalty rate.” Rite-Hite, 56 F.3d at 1549 n.9. In other words, it is not appropriate to adjust the

   royalty base due to collateral sales in the midst of the Georgia-Pacific analysis—any

   consideration of collateral sales in this context should be related to the adjustment of the royalty

   rate. And again, in adjusting the royalty rate due to collateral sales, the analysis should likewise

   be clear as to why and how the expert believes the collateral sales are tied to the sales of the

   accused products, and how this connection impacts the royalty rate. With these conditions met,

   it may be appropriate to include convoyed sales in the consideration of both the royalty base and

   rate. See, e.g., Fujifilm, 605 F.3d at 1372–73.

          In this case, Mr. Dell stated he understood the “combination of hardware and software

   comprising the accused systems must function together.” Dell’s Rep. ¶ 77. Mr. Dell relied on



                                                     6
Case 6:16-cv-00961-RWS-JDL Document 254 Filed 11/28/17 Page 7 of 13 PageID #: 18671



   the fact that NetApp provides its software and related hardware appliances “to the market as an

   ‘engineered system to manage customers’ data.” Id. at ¶ 76. Mr. Dell also relied on NetApp’s

   Vice President and General Manager of SolidFire, Daniel Berg, who indicated “software is not of

   much value unless it runs on a piece of hardware, so we sold [SolidFire] as [an] appliance, the

   combination of hardware and software.” Id. Mr. Dell also relied on NetApp’s Vice President of

   Product Management who stated that the hardware appliances on ONTAP are only capable of

   running ONTAP and not any other file system software. Id. Because of this, Mr. Dell concluded

   that “the Accused Products (i.e., the accused software and accused hardware products identified

   above) represent the smallest saleable patent practicing unit (“SSPPU”) asserted to infringe the

   patents-in-suit.” Id.

          Mr. Dell went on in his analysis to assess the functional relationship between the services

   and maintenance offerings and the Accused Products “to determine if such sales are convoyed

   sales or sold only for business convenience.” Id. at ¶ 87. Mr. Dell noted that the maintenance

   offerings were intended to “provide customers with bug fixes, patches and support for software,

   as well as hardware maintenance and warranties directly related to the products purchased, i.e.,

   the Accused Products.” Id. Further, Mr. Dell found the offerings “are sold ‘bundled’ with

   certain product offerings and in many cases are required to be purchased in conjunction with the

   Accused Products.” Id. (emphasis in original). Mr. Dell noted that the “service and maintenance

   offerings are not sold on a stand-alone basis from the Accused Products and have no intended

   purpose separate and apart from the Accused Products.” Id. at ¶ 88. Based on these factors, Mr.

   Dell stated:

          “I am unaware of any reason why NetApp’s customers would purchase service
          and maintenance offerings for the Accused Products without also purchasing the
          Accused Product. As a result, this evidence demonstrates that demand for the



                                                   7
Case 6:16-cv-00961-RWS-JDL Document 254 Filed 11/28/17 Page 8 of 13 PageID #: 18672



           Accused Products forms the basis of customer demand for the related service and
           maintenance offerings attributed to the Accused Products.”

   Id.   Overall, Mr. Dell decided that the “revenues generated from the sale of service and

   maintenance services constitute convoyed sales that should also be included in the royalty base

   in this case.” Id. at ¶ 90.

           Through the above analysis, Mr. Dell specifically explains the basis for considering

   certain NetApp services as convoyed sales. Realtime Data, 2017 WL 1513098 at *1. He then

   apportioned the value of the royalty base attributed to the accused products themselves versus the

   convoyed sales. Dell’s Rep. ¶¶ 101–26 (analyzing the percentage of financial benefit in each

   product and determining the appropriate apportionment); see id. Because Mr. Dell “present[ed]

   a clear explanation of 1) why and how the purported convoyed sales are tied to the sales of the

   accused products and 2) what value of the royalty base is attributable to the accused products

   themselves versus the convoyed sales,” Mr. Dell’s analysis of the different convoyed sales in his

   royalty base and apportionment analysis is not inherently unreliable. Realtime Data, 2017 WL

   1513098 at *1. Although NetApp argues there are other features driving demand for the accused

   products “including many that rank higher than deduplication and compression” in customer

   support questions, (Doc. No. 234 at 5) that goes to the weight of the testimony and opinion, not

   on its admissibility. See FED. R. EVID. 702 Advisory Committee’s Notes, 2000 Amendments

   (citing Rock v. Arkansas, 483 U.S. 44, 61 (1987)).

   II.     Dell’s Apportionment Analysis

           NetApp argues that the methodology Mr. Dell used in his apportionment analysis is

   improper. (Doc. 234 at 7.) NetApp states that Mr. Dell (1) fails to tie his apportionment factor

   to the particular features of each accused product and (2) improperly relies on comparable

   licenses to determine the apportionment rate for the products in this litigation. Id. at 8–11.

                                                   8
Case 6:16-cv-00961-RWS-JDL Document 254 Filed 11/28/17 Page 9 of 13 PageID #: 18673



   Realtime argues that Mr. Dell’s apportionment analysis is methodologically sound due to his

   analysis of the documents, testing, and licensing history to isolate the incremental value from the

   patented compression functionality; his application of the factor to each accused product; and his

   reliance on comparable licenses. (Doc. No. 244 at 8–14.)

          NetApp maintains that Mr. Dell only found an apportionment factor of 25% without

   explaining any variance in the products, the differing features, or what created a split of 25/75%.

   (Doc. No. 234 at 9.) However, Mr. Dell relies on information on the individual products and the

   expert report of Dr. Wesel to come to the conclusion that each of the products have an

   apportionment factor of 25%. Throughout his report Mr. Dell specifies the differentiating factors

   of the products and comes to the conclusion that the accused products each provide “direct cost

   savings due to the ability to store more data with less overall storage capacity.” Dell Rep. ¶ 52–

   60, 74. Mr. Dell relied on the fact that each of the products used similar NetApp storage devices

   to run similar software. Id. ¶¶ 52–66. Mr. Dell also relies on Dr. Wesel’s reports and figures in

   each of the products to show “customers will rely upon deduplication . . . [which] will provide

   additional storage savings over the use of only compression by itself.” Id. at ¶ 116. Mr. Dell

   noted that Dr. Wesel’s report showed storage efficiencies ranging between 22% and 32.8% with

   an average efficiency gain of approximately 28%. Id. at ¶ 119. Mr. Dell relied on the license

   agreements produced by Realtime in other cases to show apportionment factors ranging between

   25% and 33%. Id. at ¶ 120. Mr. Dell determined “that apportionment factors ranging broadly

   between 20% and 50% are appropriate in this case” and therefore determined “an apportionment

   factor of 25% would be considered a fair and reasonable apportionment factor used by the parties

   to determine the revenue base that is directly tied to the economic benefits attributable to the




                                                   9
Case 6:16-cv-00961-RWS-JDL Document 254 Filed 11/28/17 Page 10 of 13 PageID #:
                                  18674


 patents-in-suit.” Id. at ¶¶ 121, 123. Based on the presented data, Mr. Dell did look at the

 differences in each product and concluded that 25% was fair for each product.

        NetApp also argues that it was inappropriate for Mr. Dell to rely on prior license

 agreements for his analysis and use the prior licenses as a “rule of thumb.” (Doc. No. 234 at 10–

 11.) Licenses may be presented to the jury to help the jury decide an appropriate royalty rate.

 Ericsson, Inc. v. D-Link Systems, Inc., 773 F.3d 1201, 1227 (Fed. Cir. 2014) (internal citation

 omitted). “Prior licenses, however, are almost never perfectly analogous to the infringement

 action.” Id. License may cover more patents than those at issues, involve foreign intellectual

 property rights, or calculate as some percentage of the value of a multi-component product. Id.

 “Testimony relying on licenses must account for such distinguishing facts when invoking them

 to value the patented invention.” Id.; see ResQNet, 594 F.3d at 869 (improper to rely on a

 license with no relationship to the claimed invention); VirnetX, 767 F.3d at 1330 (allowing an

 expert to rely on six challenged licenses because four related to the patents-in-suit and others

 were drawn to a related jury, and the jury was allowed to evaluate the relevance of the licenses).

 However, the fact that a license is not perfectly analogous “generally goes to the weight of the

 evidence, not its admissibility. Id. (citing Apple Inc. v. Motorola, Inc., 757 F.3d 1286, 1326

 (Fed. Cir. 2014)). The court “must assess the extent to which the proffered testimony, evidence,

 and arguments would skew unfairly the jury’s ability to apportion the damages to account only

 for the value attributable to the infringing features.” Id.

        In Mr. Dell’s report, he analyzes former license agreements “involving the patents-in-suit

 or other patents owned by Realtime.” Dell Rep. ¶ 134. He then:

        “analyzed and considered the various similarities and differences that may exist
        between these licenses and that of the hypothetical negotiation in this case,
        including similarities/differences in the factors or circumstances leading to the
        license, the accused products and the importance of the asserted patents to the

                                                   10
Case 6:16-cv-00961-RWS-JDL Document 254 Filed 11/28/17 Page 11 of 13 PageID #:
                                  18675


        accused products and the importance of the asserted patents to the accused
        products, the number and similarity of patents licensed, the parties to the license,
        as well as other extrinsic factors such as litigation risk, relevant industry, and
        financial condition of the parties[.]”

 Id. Mr. Dell proceeded to analyze each of the license agreements with which patents they tied to,

 the agreed upon royalty rate, the apportioned value, and the lump sum paid. Id. ¶¶ 137–76. Mr.

 Dell noted when the prior license agreements correlated directly to the patents-in-suit, and where

 the license agreements had at least one of the patents-in-suit and noted these agreements

 provided “further insight into Realtime’s licensing practices and the economic considerations[.]”

 Id. at ¶ 152. Mr. Dell asserted that it was the patents now asserted against NetApp that “drove

 the value of the licensing negations” in three of the agreements he relied on. Id. at ¶ 177.

 Further, Mr. Dell relied on a discussion with Realtime’s vice president to find that the

 apportionment methodology was comparable. Id. at ¶ 149. Based on his review, Mr. Dell found

 that royalty rates ranged “from 3% to 10% of apportioned accused revenue for the relevant

 license period[.]” Id. at ¶ 176. He also found the “apportionment factors rang[ed] between 25%

 and 50%[.]” Id. Because Mr. Dell utilized prior license agreements that use the same patents-in-

 suit, and because he compared NetApp’s technological differences, his consideration of

 comparable licenses to the patents-in-suit to apportion was not an unreliable methodology. See

 LaserDynamics, Inc. v. Quanta Computer Inc., 694 F.3d 51, 79 (Fed. Cir. 2012) (citing ResQNet,

 594 F.3d at 869) (“Actual licenses to the patented technology are highly probative as to what

 constitutes a reasonable royalty for those patents rights because such actual licenses most clearly

 reflect the economic value of the patented technology in the marketplace”).

 III.   Dell’s Hypothetical Negotiation

        NetApp argues that Dell’s hypothetical negotiation is immutable because Mr. Dell over-

 generalizes the bargaining power of the NetApp and SolidFire and over-generalized that the

                                                 11
Case 6:16-cv-00961-RWS-JDL Document 254 Filed 11/28/17 Page 12 of 13 PageID #:
                                  18676


 same conclusion would happen in 2010, 2012, 2014, or 2015. (Doc. No. 234 at 12.) NetApp

 argues that the market changed and both companies changed over the years, and this analysis

 confirms he used a “rule of thumb” analysis. Id. Realtime maintains that Mr. Dell looked at the

 different hypothetical negotiation dates and found the outcome did not materially change. (Doc.

 No. 244 at 15.) Realtime states that the market would increase over time and the accused

 products would be commercially successful. Id. Realtime argues that Mr. Dell looked at the fact

 that SolidFire was not acquired until 2015, but found the royalty outcome would not change. Id.

        Mr. Dell notes that he was told to consider a hypothetical negotiation date at different

 times. Dell. Rep. ¶ 132, 266. Mr. Dell determined that certain factors “such as the timing of the

 license agreements entered in to in this case, as well as the continued importance and

 introduction of additional compression and deduplication features in the Accused Products, may

 provide additional factors for the parties to consider in negotiating the terms of the hypothetical

 license.” Id. at ¶ 132. He found NetApp “has continued to add additional compression and

 deduplication algorithms to each successive product release” and therefore the range negotiated

 apportionment range would receive upward pressure. Id. at ¶ 266. Based on this he found there

 would be no significant change in the hypothetical negotiation. Id. Because he did consider

 various factors, his statements were not over-generalized and the court finds his testimony

 admissible.

        Further, Mr. Dell notes in his supplemental report that he considered different factors in

 the negotiation between Realtime and SolidFire before it was acquired. (Doc. No. 244-6 at ¶ 5.)

 Mr. Dell concluded “[t]he hypothetical negotiation between Realtime and SolidFire would result

 in the same 25% apportionment factor and 3.75% royalty rate that would be utilized in

 calculating the lump sum payment calculation.” Id. Because Mr. Dell did consider SolidFire’s



                                                 12
Case 6:16-cv-00961-RWS-JDL Document 254 Filed 11/28/17 Page 13 of 13 PageID #:
                                  18677


 position before NetApp acquired it, he did not over-generalize his findings and did not apply a

 “rule of thumb” analysis.

                                        CONCLUSION

        For the reasons stated herein, the Court DENIES Defendant’s Motion to Exclude

 Testimony by Stephen Dell. (Doc. No. 234.)




             So ORDERED and SIGNED this 16th day of November, 2017.




                                               13
